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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                     FORT WORTH DIVISION

 ROBERT (BOB) ROSS,                                §
 Plaintiff/Counterclaim Defendant,                 §
                                                   §
 v.                                                §
                                                   §     Civil Action No. 4:22-cv-343-Y
 ASSOCIATION OF PROFESSIONAL                       §     Consolidated with 4:22-cv-430-Y
 FLIGHT ATTENDANTS, et al.,                        §
 Defendants/Counterclaim Plaintiffs,               §     Judge Terry R. Means
                                                   §
 AND                                               §
                                                   §
 EUGENIO VARGAS,                                   §
 Plaintiff/Counterclaim Defendant,                 §
                                                   §
 v.                                                §
                                                   §
 ASSOCIATION OF PROFESSIONAL                       §
 FLIGHT ATTENDANTS, et al.,                        §
 Defendants/Counterclaim Plaintiffs.               §

              APPENDIX TO APFA DEFENDANTS’ SUPPLEMENT TO ITS LIST
                   OF REASONABLE COSTS AND ATTORNEY’S FEES
              PURSUANT TO ORDER GRANTING MOTION FOR SANCTIONS

           Pursuant to Local Rule 7.1(i), the Association of Professional Flight Attendants

(“APFA”), its National President, Julie Hedrick, and National Treasurer, Erik Harris

(collectively, “the APFA Defendants”), hereby submit the following appendix to its Supplement

to its List of Reasonable Costs and Attorney’s Fees Pursuant to Order Granting Motion for

Sanctions.

      Tab                                  Description                                APFA Appx.
      14       Court Reporter for March 15 Deposition                                      54-55




                                                   1
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Date: April 2, 2024               Respectfully Submitted,

                                   /s/ James D. Sanford
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                                  Counsel for the APFA Defendants

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                                  Euless, TX 76040
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                                  Counsel for APFA




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                                CERTIFICATE OF SERVICE

       I certify that on April 2, 2024, a true and correct copy of the foregoing document was

served upon all persons who have requested notice and service of pleadings in this case via the

Court’s ECF system.

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                                                    /s/ James D. Sanford
                                                    JAMES D. SANFORD




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                          Tab
                           14




                                                                      APPENDIX 54
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Stryker Reporting                                                                                   Invoice
Prompt and Precise Litigation Support
1450 Hughes Road
Suite 230
                                                                         Invoice Date           Invoice #
Grapevine TX 76051                                              Thursday, March 21, 2024          9745A
Phone: (817) 494-0700          Fax: (817) 494-0778



     Jodi Czabajszki
     Association of Professional Flight Attendants
     1004 West Euless Boulevard
     Euless, TX 76040




   Phone:                                Fax:
    Witness:       Robert Ross, Vol. 2
    Case:          Ross vs. APFA, et al.
    Venue:         United States District Court
    Case #:     4:22-cv-343-Y
    Date:                  3/15/2024
    Start Time:             9:11 AM
    End Time:              11:44 AM
    Reporter:        Angie Mancuso
    Claim #:
    File #:                  ESTIMATE                                                             24217A


                            Description                                        Each     Quan     Total
                            Live Attendance, Half-Day                        $140.00    1      $140.00
                            Original, Videotaped                               $6.50    89     $578.50
                            Administration Fee                                $65.00    1       $65.00
                            Electronic Format PDF                             $35.00    1       $35.00
                            Exhibits, PDF                                      $0.50    35      $17.50
                            Witness Review Original                           $50.00     1      $50.00

                                                                            Sub Total          $886.00

                                                                            Payments             $0.00

                                                                            Balance Due        $886.00




                                                Fed. I.D. # XX-XXXXXXX
            Due upon receipt. Please reference the invoice number on your check.




                                                                                                            APPENDIX 55
